    Case 2:10-md-02179-CJB-DPC Document 1589-2 Filed 03/11/11 Page 1 of 1




IN RE: OIL SPILL by the OIL RIG                 §                    MDL No. 2179
       “DEEPWATER HORIZON” in the               §
       GULF OF MEXICO on                        §                     SECTION: J
       APRIL 20, 2010                           §
                                                §               Judge Carl J. Barbier
                 Applies to:                    §           Magistrate Judge Sally Shushan
                                                §
                        Crawford v. BP, P.L.C., §
                             No. 2:10-CV-1540 §


                                             ORDER

         Considering Defendant M-I L.L.C.’s Motion To Dismiss Plaintiff’s Class Action

Complaint for failure to state a claim pursuant to Fed. R. Civ. P. 12(B)(6):

         IT IS HEREBY ORDERED that all claims asserted against Defendant M-I L.L.C. are

dismissed.

         New Orleans, Louisiana, this _____ day of May, 2011.



                                                     ____________________________________
                                                     UNITED STATES DISTRICT JUDGE




DB1/66797595.1
